Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 1 of 15         PageID #: 256




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                        UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   Venice PI, LLC, et al.,                 )   Case No.: 1:19-cv-169-LEK-KJM
                                           )   (Copyright)
                     Plaintiffs,           )
       vs.                                 )   PLAINTIFFS’ MOTION FOR
                                           )   RECONSIDERATION OF ORDER
   DOE 1 et al.,                           )   [DOC. #32] DENYING
                                           )   PLAINTIFFS’ UNOPPOSED EX
                     Defendants.           )   PARTE MOTION FOR LEAVE TO
                                           )   REQUEST ISSUANCE OF ORDER
                                           )   GRANTING LETTERS OF
                                           )   REQUEST PRIOR TO A RULE 26(f)
                                           )   CONFERENCE [DOC. #27];
                                           )   DECLARATION OF COUNSEL;
                                           )   EXHIBITS “1” AND “2”;
                                           )

   PLAINTIFFS’ MOTION FOR RECONSIDERATION OF ORDER DENYING
  PLAINTIFFS’ UNOPPOSED EX PARTE MOTION FOR LEAVE TO REQUEST
   ISSUANCE OF ORDER GRANTING LETTERS OF REQUEST PRIOR TO A
                 RULE 26(f) CONFERENCE [DOC. #27]

  I.     PROCEDURAL AND FACTUAL BACKGROUND

         Plaintiffs move this honorable court for Reconsideration of the Order [Doc.

  #32] Denying Plaintiffs’ Ex Parte Motion for Leave to Request Issuance of Order
  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 2 of 15            PageID #: 257




  Granting Leave to Request Letters of Request prior to a Rule 26(f) Conference

  [Doc. #27] (hereafter: “Order” and “Motion”). The basis for this request is: (1)

  discovery of new material facts not previously available; and (2) the Court’s

  decision was respectfully based on manifest error of law and fact.

        Plaintiffs’ counsel understands the Court’s concerns with issuing letters of

  requests to foreign tribunals. See Order at pg. 17. However, as explained below,

  information Plaintiffs obtained subsequent to the filing of the Motion shows that

  the Defendants DOE 1 and DOE 2 (“Defendants”) make extensive use of resources

  in the United States to operate not only the YIFY and YTS websites, but of some

  of the biggest piracy sites in the world. Without the assistance of foreign tribunals,

  Defendants will continue to pirate Plaintiffs’ motion pictures worldwide.

  A. Newly Discovered Material Facts with regards to Defendant DOE 1

        Plaintiffs’ Motion was filed on May 10, 2019. Subsequent to the filing of

  the Motion, Plaintiffs obtained information indicating that Defendant DOE 1 is

  Nguyen Manh (“Manh”), a Vietnamese national. See Decl. of Counsel at ¶6,

  Exhibit “1”. Manh used the content delivery network (“CDN”) services of the

  California company Cloudflare, Inc. (“Cloudflare”) to deliver traffic from his

  YIFY website to Hawaii and thus the United States. See Decl. of Counsel at ¶2,

  Complaint at ¶¶12, 22, 31. By using the CDN service, Manh concealed the true

  Internet Protocol (“IP”) address where his website was hosted, thus preventing


  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 3 of 15         PageID #: 258




  detection of his web host provider and ultimately him. See Id. at ¶22. Particularly,

  the CDN service makes publicly available records only show that the website was

  hosted at an IP address of Cloudflare. Id. On May 21, 2019, Plaintiff Venice PI,

  LLC received account information for the YIFY website from Cloudflare. See

  Decl. of Counsel at ¶2. The account information records show the true IP

  addresses at where Manh’s website is hosted. Id. at ¶5. Further, the account

  information also showed that Manh used the Cloudflare service to host the movie

  piracy websites: 9movies.is; 123movies.is; fmoviesfree.is; gomoviesfree.is;

  watchasap.is; and yesmovies.to. Id. at ¶4. The websites 123movies.is and

  fmoviesfree.is were noted by the Office of the United States Trade Representative

  (“USTR”) as examples of Notorious Markets defined as an online marketplace

  reportedly engaged in and facilitating substantial piracy. See USTR, 2018 Out-of-

  Cycle Review of Notorious Markets, April 2019, pgs. 2, 4, 18, Available at

  https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf [accessed on

  June 13, 2019].

        The IP addresses from where Manh’s YIFY website was hosted until at least

  April of 2019 belongs to the New Jersey company Choopa LLC dba Vultr

  (“Choopa”). See Decl. of Counsel at ¶5. On May 23, 2019, Bodyguard

  Production, Inc. received the account information from Choopa for these true IP

  addresses. See Id. at ¶6. The account information showed a name of “Nguyen


  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 4 of 15         PageID #: 259




  Manh” and an email address, but no phone, address or city. See Exhibit “1”. If an

  address had been included, Plaintiffs would have of course promptly withdrawn

  the Motion with respect to Defendant DOE 1. See Decl. of Counsel at ¶7.




  The account information from Choopa shows that Manh uses the email address of

  the California company Google, Inc. to communicate with Choopa and the

  California company PayPal Holdings, Inc. to make payments to Choopa for the

  website hosting services. See Exhibit “1” at pgs. 3-6.

        On May 23, 2019, Plaintiffs’ counsel sent an email to Manh offering to settle

  this matter if he would agree to cease all movie piracy activities and pay damages.

  Manh never replied to Plaintiffs’ counsel. See Decl. of Counsel at ¶8. That very

  next day, Manh deleted the piracy websites and suddenly placed the domains up

  for sale. Id. The domains were immediately purchased by a third party on May 24,

  2019. See Id. at ¶9.

  B. New material facts with regards to Defendant DOE 2


  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 5 of 15            PageID #: 260




        From April 11, 2019 to May 23, 2019, an individual (“Mr. Segaran”)

  holding himself as representing Defendant DOE 2 communicated with Plaintiffs’

  counsel from email address “segaran@tutanota.com”. See Id. at ¶12. Mr. Segaran

  refused to provide identification information, sign a waiver of service or conduct a

  Rule 26(f) conference, but did make offers of settlement. See Id. at ¶13.

  Plaintiffs’ counsel made clear to Mr. Segaran that a condition of a settlement

  would be removal of all of Plaintiffs’ motion pictures from the YTS websites – a

  condition to which Mr. Segaran ultimately agreed. See Id. at ¶¶13-14. However,

  Plaintiffs’ counsel received no further communications with Mr. Segaran after May

  23, 2019. See Id. at ¶15. In the contrary, in early June Defendant DOE 2 begin

  redirecting the yts.ag website to its new website “yts.lt” and completely rebranded

  itself as YTS.LT. See Id. at ¶¶16-19. The new website yts.lt once again apparently

  allows users to download torrent files of Plaintiffs’ motion pictures, but only if the

  user creates a YTS account and logs in. Id.




        Defendant DOE 2 also used Cloudflare to deliver the traffic from the YTS

  websites to Hawaii and thus the United States. See Complaint [Doc. #1] at ¶¶12,

  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 6 of 15            PageID #: 261




  31.   On June 6, 2019, Plaintiff Bodyguard Productions, Inc. received account

  information for the YTS websites from Cloudflare showing the true IP addresses at

  where the YTS websites are hosted. See Decl. of Counsel at ¶10. Further, the

  account information also showed that Defendant DOE 2 used the Cloudflare

  service to host a plethora of other movie piracy websites such as piratetorrents.net,

  limetorrents.cc, yourbittorrent.com, rarbg.to, torrentbutler.eu, piratetorrents.net,

  thepiratebay.se.net, torrentz.eu, 1337x.to and extratorrent.cc which also provide

  torrent files for distributing copyright protected motion pictures. Id. Defendant

  DOE 2’s websites rarbg.to and thepiratebay.se.net were noted by the USTR as

  example of a Notorious Market. See USTR supra at pgs. 24, 27.

        The true IP addresses at where Defendant DOE 2’s YIFY websites are

  currently hosted or associated belong to the New York company Digital Ocean.

  See Decl. of Counsel at ¶11.

  II.   STANDARD OF REVIEW

        Local Rule 60.1 governs motions for reconsideration of interlocutory orders.

  For the Court to reconsider an interlocutory order, Plaintiff must establish: (a) the

  discovery of new material facts not previously available; (b) an intervening change

  in law; or (c) manifest error of law or fact. LR 60.1.

  This Court has stated that:




  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 7 of 15               PageID #: 262




         A motion for reconsideration must (1) “demonstrate reasons why the court

         should reconsider its prior decision” and (2) “must set forth facts or law of a

         strongly convincing nature to induce the court to reverse its prior decision.”

         Hele Ku KB, LLC v. BAC Home Loans Servicing, LP, 873 F. Supp. 2d 1268,

         1289 (D. Haw. 2012). The Ninth Circuit has held that reconsideration is

         appropriate if (1) the district court is presented with “newly discovered

         evidence,” (2) the district court “committed clear error or the initial decision

         was manifestly unjust,” or (3) “if there is an intervening change in controlling

         law.” Nunes v. Ashcroft, 375 F. 3d 805, 807 (9th Cir. 2004).

  Pac. Radiation Oncology, LLC v. Queen's Med. Ctr., Civil No. 12-00064 LEK-KSC,

  2015 WL 274131, at *2 (D. Hawai’i Jan. 21, 2015) (citation omitted).

  III.   REASONS FOR RECONSIDERATION

         In the Order the Court states that Plaintiffs failed to show “good cause” to

  permit Plaintiffs to engage in international discovery because inter alia: (1)

  Plaintiffs failed to identify the Does with enough specificity to enable this Court to

  determine that the Does are real persons or entities that may be sued in federal

  court; (2) Plaintiffs fail to allege facts sufficient to allege personal jurisdiction; and

  (3) Plaintiffs failed to demonstrate that there is a reasonable likelihood that the

  discovery requested will lead to the identification of the Does such that they may

  effect service of process. Plaintiffs respectfully request that the Court reconsider


  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 8 of 15             PageID #: 263




  these conclusions in view of the newly discovered material facts not previously

  available and the manifest errors of law and fact in the Order as discussed below.

  A.    The originally plead facts and the newly discovered facts further establish

  that Defendants can be sued in Federal Court under the federal long-arm statute.

        The questions of whether: 1) Plaintiffs identified Defendants with enough

  specificity to enable this Court to determine that the Does are real persons or

  entities that may be sued in federal court; and (2) Plaintiffs alleged facts sufficient

  to allege personal jurisdiction are intertwined. Accordingly, Plaintiffs will address

  both questions here.

        Plaintiffs also alleged that this “Court has jurisdiction pursuant to Fed. R.

  Civ. P. 4(k)(2), the so-called federal long-arm statute”. Complaint [Doc. #1] at

  ¶11. Yet, the Court did not consider personal jurisdiction under the federal long-

  arm statute in the Order. Personal jurisdiction per Rule 4(k)(2) is appropriate here

  because: (1) Plaintiffs’ claims arise under federal (copyright) law; (2) the

  Defendant is not subject to the jurisdiction in any state’s courts of general

  jurisdiction; and (3) exercising jurisdiction is consistent with the US Constitution

  and laws. See Fed. R. Civ. P. 4(2).

        In Holland America Line v. Wärtsilä North Amer., the Ninth Circuit

  concluded that “[t]he the due process analysis under Rule 4(k)(2) is nearly identical

  to traditional personal jurisdiction analysis with one significant difference: rather


  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 9 of 15         PageID #: 264




  than considering contacts between the [Defendant] … and the forum state, we

  consider contacts with the nation as a whole.” Holland America Line v. Wärtsilä

  North Amer, 485 F.3d 450, 462 (9th Cir., 2007).

         Plaintiffs originally alleged that Defendants used Cloudflare for the website

  hosting and promoted overwhelmingly motion pictures produced in the United

  States. See Complaint at ¶¶12-13. In the Motion, Plaintiffs pointed out that

  Defendant DOE 1 has used the United States based platform TWITTER to

  promote the availability of infringing content (Plaintiff Millennium Funding, Inc.’s

  motion picture Mechanic: Resurrection) on the YIFY website. See Motion, Dec.

  of Counsel [Doc. #27-2] at ¶12.

        The newly discovered facts further show that: (1) Manh used the US

  providers Choopa, Google and Paypal to operate his interactive YIFY website; (2)

  Defendant DOE 2 used the US provider Digital Ocean to host the YTS websites;

  and now requires users to login to the YTS website to stream Plaintiffs’ motion

  pictures.

        Accordingly, the originally plead facts and the additionally discovered

  material facts support Plaintiffs’ allegations regarding Defendants DOES 1-2’s use

  of US based resources that satisfy the minimum contacts specific jurisdiction test

  of the Federal long-arm statute.




  20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 10 of 15            PageID #:
                                    265



 B.    The originally plead facts establish that Defendants DOE 1 and DOE 2 can

 be sued in Federal Court and are persons and/or entities that can be sued in Federal

 Court under the Hawaii long-arm statute.

       The Order states that “Plaintiffs fail to provide any facts to support their

 conclusory allegations regarding Does’ use of “cookies, log files, and/or beacons to

 narrowly tailor the website viewing experience to the geolocation of the user.””

 Order at pg. 14. Respectfully, this assertion is incorrect. In the Declaration of Eric

 Smith, he showed a screen shot of the website yifymovies.is as it appeared on

 April 3, 2019 when he visited it (reshown below).




 20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 11 of 15           PageID #:
                                    266



       An advertisement is generated on the bottom of the website. Most strikingly

 is the advertisement for “These Marvelous Apartments for Seniors Are Available

 Near Kailua-Kona.” Obviously, the YIFY website must have narrowly tailored

 the website viewing experience to the geolocation of the Eric Smith while viewing

 it from Kailua Kona. Decl. of Smith [Doc. #1-4 at ¶10].

       The website yts.gg which has now been removed included similar

 advertisements. The website yts.ag now redirects to yts.lt, which includes an

 advertisement banner that specifically states the IP address of the computer that is

 viewing the website, the location, the browser type and even the computer

 specifications. See Decl. of Counsel at ¶¶16-17.




        Accordingly, Plaintiffs do indeed provide facts to support their allegations

 regarding Defendants DOES 1-2’s use of cookies, log files, and/or beacons to



 20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 12 of 15             PageID #:
                                    267



 narrowly tailor the website viewing experience that satisfy the minimum contacts

 specific jurisdiction test of the Hawaii long arm statute.

 C.    Plaintiffs alleged facts establishing that the Defendants knew that they

 would cause harm in Hawaii.

       Because the Defendants narrowly tailor the website based upon the

 geolocation of the website viewer as discussed above, the Defendants must have

 known that they were streaming motion pictures/providing torrent files to

 consumers in Hawaii. When Brent Baldwin, Michael Nolasco and Cullen

 Coughlin were induced to infringe Plaintiffs’ motion pictures in Hawaii, Plaintiffs

 suffered harm here in Hawaii. These are not mere allegations. Rather, each of

 these individuals has admitted to the infringements. Plaintiffs lost money from

 potential sales of the work from the infringements here in Hawaii. The Hawaii

 government lost potential tax revenue from the infringements here in Hawaii.

 Clearly, harm has been caused here in Hawaii by Defendants’ actions – harm

 which is the foreseeable result of the piracy activity in which they engage.

 D. Plaintiffs demonstrated that there is a reasonable likelihood that the discovery

 requested will lead to the identification of the Does such that they may effect

 service of process.

       In the Motion, Plaintiffs stated that: (1) the Icelandic Registrar ISNIC will

 have identification information for Defendant DOE 1 that is not publicly available;


 20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 13 of 15            PageID #:
                                    268



 (2) the French Registrar Gandi.net has the identification records of DOE 2 but

 made clear to Plaintiffs’ counsel that further information will not be revealed

 absent a Court order (Dec. of Counsel [Doc. #27-2] at ¶7); and (3) and that the

 Dutch server provider Abelohost will have the identification information for the

 interactive website “yts.gg”. See Motion at pgs. 2-3. Admittingly, this portion of

 the Motion was brief, but this was because the assertion is very simple. The

 registrars and server providers have their customer information. However,

 Plaintiffs will add that with respect to the Registrars ISNIC and Gandi.net, the

 regulations established by the Internet Corporation for Assigned Names and

 Numbers (“ICANN”) require an individual registering a domain name to provide

 complete and accurate registration information for the domain name. See ICANN

 Uniform Domain Name Dispute Resolution Policy at ¶2 attached as Exhibit “2”.

 E.    The Law of the Case doctrine precludes the conclusion regarding lack of

 personal jurisdiction.

       Under the “law of the case” doctrine, “a court is generally precluded from

 reconsidering an issue that has already been decided by the same court, or a higher

 court in the identical case.” Thomas v. Bible, 983 F.2d 152, 154 (9th Cir.) (cert.

 denied 508 U.S. 951, 113 S. Ct. 2443, 124 L. Ed.2d 661 (1993).

       Plaintiffs addressed the issue of personal jurisdiction in their Application for

 Entry of Temporary Restraining Order and Preliminary Injunction filed on April 4,


 20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 14 of 15             PageID #:
                                    269



 2019 (“Application”) [Doc. #7]. Particularly, Plaintiffs argued that the Court has

 specific jurisdiction over Defendants under Rule 4(k)(1) and the Hawaii long-arm

 statute. See Memorandum in Support of Application [Doc. #7-1] at pgs. 4-5.

 Judge Kobayashi issued an EO questioning whether Plaintiffs had “identified the

 “specific facts” necessary to meet the requirements of Rule 65(b)(1)(A).” COURT

 ORDER REGARDING PLAINTIFFS’ EX PARTE APPLICATION FOR

 TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

 [Doc. #12]. The Court had a status hearing regarding this issue of the “specific

 facts” on April 11, 2019, and issued an order on April 15, 2019 denying the TRO

 because “…the Moving Plaintiffs could not identify specific facts that clearly show

 “immediate and irreparable injury, loss, or damage will result” … and because

 economic damages alone do not qualify as “irreparable harm,”…” COURT

 ORDER RULING ON PLAINTIFFS’ EX PARTE APPLICATION FOR

 TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

 [Doc. #16] at pg. 2. Notably, personal jurisdiction was never raised by the Court

 as a concern.

       Accordingly, Plaintiffs respectfully submit that the issue of personal

 jurisdiction has already been addressed by this Court at least in an ex parte context.

 F.    Personal Jurisdiction can be waived.




 20-015 19-169
Case 1:19-cv-00169-LEK-KJM Document 34 Filed 07/07/19 Page 15 of 15              PageID #:
                                    270



       Personal jurisdiction can be waived by Defendants per Rule 12(b). See

 S.E.C. v. Blazon Corp., 609 F.2d 960, 965 (9th Cir. 1979) (“A defendant cannot

 waive his right to assert a lack of subject matter jurisdiction, but he can confer

 jurisdiction over his person upon a court otherwise lacking that jurisdiction by

 expressly consenting to it.”). Accordingly, this Court should be hesitant to

 conclude that it lacks personal jurisdiction over Defendants without at least

 permitting Plaintiffs to conduct limited discovery.

 IV.   CONCLUSION

       For the foregoing reasons, the Plaintiffs request that this Court reconsider

 the order denying Plaintiffs’ Motion, grant said order and sign the letters of request

 and return same to Plaintiffs for transmittal to the appropriate and competent

 judicial authorities.

                 DATED: Kailua-Kona, Hawaii, July 7, 2019.


                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiffs




 20-015 19-169
